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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                              CRIMINAL 11-0106CCC
 1) CHRISTIAN ROMAN-VELEZ a/k/a Pablo
 Villanueva; Counts 1-4, 23-25, 28, 30-32,
 35, 38
 2) YARIEL VELEZ-MONTERO a/k/a Abdiel
 Sandoval-Santiago a/k/a Domingo Cruz
 a/k/a El Cano; Counts 1, 6-9, 11-15, 17-18,
 20-24, 26
 3) JULIO A. CENTENO-SANTANA;
 Counts 2, 27-29
 4) WILMANUEL MATOS-SEMIDEY
 a/k/a Bobby; Counts 1, 10-11, 16, 19
 5) FERNANDO RAMOS-RIOS a/k/a Tito;
 Counts 1, 19, 27, 30, 32
 6) PEDRO MUÑOZ-LUGO; Counts 1, 33-36
 7) JAVIER AYALA-CAMACHO;
 Counts 1, 10
 8) CARMEN CARRION-DELGADO;
 Counts 1, 12-14, 18
 9) HECTOR LOPEZ-VELEZ a/k/a Lopito;
 Counts 1, 15-16
 10) DIAHANN DELGADO-RIVERA;
 Counts 1, 20-21
 11) JAVISH GARCIA-COLON;
 Counts 1, 17, 22
 12) JENNIFER RAMOS-MULERO
 Counts 1, 37-38
 Defendants



                                        ORDER

       Having considered the Report and Recommendation filed on November 18, 2011
(docket entry 170) on a Rule 11 proceeding of defendant Javier Ayala-Camacho (7) held
before U.S. Magistrate Judge Marcos E. López on November 18, 2011, to which no
opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant Ayala-Camacho is accepted. The Court FINDS that his plea was voluntary and
intelligently entered with awareness of his rights and the consequences of pleading guilty
and contains all elements of the offense charged in the indictment.
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CRIMINAL 11-0106CCC

      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since November 18, 2011. The sentencing hearing is set for
February 21, 2012 at 4:30 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on December 6, 2011.



                                               S/CARMEN CONSUELO CEREZO
                                               United States District Judge
